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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

CONTRELL ALFORD                                   )        CASE NO.
7685 Starcliff Avenue NW                          )
North Canton, Ohio 44720                          )        JUDGE
                                                  )
                              Plaintiff,          )
                                                  )
                       v.                         )        COMPLAINT FOR DAMAGES
                                                  )        AND REINSTATEMENT
FA OH HND, LLC D/B/A FOUNDATION                   )
HONDA                                             )        JURY DEMAND ENDORSED
2953 Mayfield Road                                )        HEREIN
Cleveland Heights, Ohio 44118                     )
                                                  )
       Serve Also:                                )
       FA OH HND, LLC D/B/A                       )
       FOUNDATION HONDA                           )
       c/o CORPORATE CREATIONS                    )
       NETWORK, INC.                              )
       Statutory Agent                            )
       119 E. Court Street                        )
       Cincinnati, Ohio 45202                     )
                                                  )
                                                  )
                              Defendant.          )

       Plaintiff Contrell Alford, by and through his undersigned counsel, as his Complaint against

Defendant Fa Oh Hnd, LLC d/b/a Foundation Honda (“Honda”), states and avers the following:

                                             PARTIES

1. Plaintiff Contrell Alford is a natural person and resident of the City of North Canton, County

   of Stark, State of Ohio.

2. Defendant Honda is a foreign limited liability company organized under the laws of the State

   of Delaware, with a principal place of business located at 2953 Mayfield Road, Cleveland

   Heights, Ohio 44118.

                                 JURISDICTION & VENUE
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3. This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, as Alford is alleging federal

    law claims under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.; the Family

    and Medical Leave Act (“FMLA”), 29 U.S.C § 2601 et seq.; and Families First Coronavirus

    Response Act (“FFCRA”), 29 U.S.C. § 2620 et seq.

4. This Court has personal jurisdiction over Honda pursuant to Ohio Revised Code Section

    2307.382(A)(1), as Honda has and continues to transact business in the State of Ohio.

5. All material events alleged in this Complaint occurred in Cuyahoga County, Ohio.

6. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a), as a substantial part of the events

    or omissions giving rise to this action, including the unlawful employment practices alleged

    herein, occurred in this judicial district.

7. Within 300 days of the conduct alleged below, Alford filed a Charge of Discrimination with

    the Equal Opportunity Employment Commission (“EEOC”), Charge No. 532-2021-00340,

    against Honda.

8. On or about June 1, 2022, the EEOC issued and mailed a Notice of Right to Sue letter to Alford

    regarding the Charge No. 532-2021-00340.

9. Alford received his Right to Sue letter from the EEOC in accordance with 42 U.S.C. § 2000e-

    5(f)(1), which has been attached hereto as Plaintiff’s Exhibit 1.

10. Alford filed this Complaint within 90 days of the issuance of the Notice of Right to Sue letter.

11. Alford has properly exhausted his administrative remedies pursuant to 29 C.F.R. §

    1614.407(b).

                                                  FACTS

12. Honda owns and operates a car dealership located at 2953 Mayfield Road, Cleveland Heights,

    Ohio 44118.



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13. Alford is a former employee of Honda.

14. Alford was hired by Honda in or around April 2018 as a Finance Manager.

15. Alford was promoted by Honda to Finance Director on or about March 1, 2020.

16. Alford is African American.

17. On or about September 1, 2020, Alford herniated a disc in his back.

18. On or about September 9, 2020, Alford informed Delano Palmer, Honda’s General Manager,

   that he had to attend a doctor’s appointment to treat his back injury, but that he would return

   to work once his appointment concluded.

19. At all times relevant herein, Palmer acted as Alford’s supervisor, with the authority to take

   tangible employment actions against Alford, including disciplining, suspending and/or

   terminating Alford.

20. While at his doctor’s appointment on or about September 9, 2020, Alford received a voicemail

   message from Palmer.

21. In the message, Palmer called Alford a “monkey” and reprimanded him for leaving work

   (“Palmer’s Racist Remark”).

22. Alford was offended by Palmer’s Racist Remark.

23. A reasonable person in Alford’s position would have been offended by Palmer’s Racist

   Remark.

24. Calling an African American a “monkey” constitutes an insult based on race.

25. Calling an African American a “monkey” constitutes racial discrimination.

26. At all times relevant herein, Chuck Kramer was Honda’s Chief Operating Officer.




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27. At all times relevant herein, Kramer acted as Alford’s supervisor, with the authority to take

   tangible employment actions against Alford, including disciplining, suspending and/or

   terminating Alford.

28. Alford did not report Palmer’s Racist Remark to Kramer because Kramer, on numerous

   occasions during Alford’s employment with Honda, had referred to Alford as “boy”

   (“Kramer’s Racist Remarks”).

29. Alford was offended by Kramer’s Racist Remarks.

30. A reasonable person in Alford’s position would have been offended by Kramer’s Racist

   Remarks.

31. Referring to an African American as “boy” constitutes an insult based on race.

32. Referring to an African American as “boy” constitutes racial discrimination.

33. On or about September 10, 2020, Alford complained to Palmer about Palmer’s Racist Remark

   (“Alford’s Discrimination Complaint”).

34. Upon information and belief, Honda has a policy against race discrimination in the workplace

   (“Discrimination Policy”).

35. An employee referring to an African American coworker as a “monkey” violates Honda’s

   Discrimination Policy.

36. Alternatively, Honda permits employees to make comments similar to Palmer’s Racist Remark

   to other African American coworkers.

37. Palmer’s Racist Remark constituted race discrimination.

38. Upon information and belief, Honda has a policy to investigate complaints of harassment

   and/or discrimination in the workplace (“Investigation Policy”).




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39. Pursuant to the Investigation Policy, an investigation should include interviewing the

   complainant.

40. Pursuant to the Investigation Policy, an investigation should include interviewing the subject

   of the complaint.

41. Pursuant to the Investigation Policy, an investigation should include interviewing the subject

   of the reported discrimination.

42. Pursuant to the Investigation Policy, an investigation should include interviewing witnesses to

   the reported discrimination.

43. Pursuant to the Investigation Policy, an investigation should include getting a written statement

   from the complainant.

44. Pursuant to the Investigation Policy, an investigation should include getting a written statement

   from the subject of the complaint.

45. Pursuant to the Investigation Policy, an investigation should include getting a written statement

   from the subject of the reported discrimination.

46. In response to Alford’s Discrimination Complaint, Honda did not interview Alford.

47. In response to Alford’s Discrimination Complaint, Honda did not interview Palmer.

48. In response to Alford’s Discrimination Complaint, Honda did not interview witnesses.

49. In response to Alford’s Discrimination Complaint, Honda did not get a written statement from

   Alford.

50. In response to Alford’s Discrimination Complaint, Honda did not get a written statement from

   Palmer.

51. In response to Alford’s Discrimination Complaint, Honda did not get a written statement from

   witnesses.



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52. Honda did not investigate Alford’s Discrimination Complaint.

53. Honda did not discipline Palmer in connection with Alford’s Discrimination Complaint.

54. By not disciplining Palmer in connection with Alford’s Discrimination Complaint, Honda

   ratified Palmer’s conduct.

55. Ratifying Palmer’s Racist Remark was an adverse action.

56. Ratifying Palmer’s Racist Remark was an adverse employment action.

57. Honda ignored Alford’s Discrimination Complaint.

58. After Alford’s Discrimination Complaint, Honda began taking retaliatory action against

   Alford.

59. On or about November 6, 2020, Alford complained to Engle that a portion of his earned

   monthly commission was being withheld unlawfully by Honda.

60. Upon information and belief, Honda withheld a portion of Alford’s earned monthly

   commission to pay the wages of another Honda employee.

61. On or about November 9, 2020, Alford again discovered that a portion of his earned monthly

   commission for a separate pay period was being unlawfully withheld by Honda.

62. Honda never compensated Alford for the monthly commission Alford earned at any time after

   November 9, 2020.

63. Honda withheld Alford’s earned monthly commission in retaliation against Alford for making

   Alford’s Discrimination Complaint.

64. On or about September 26, 2020, Alford’s son tested positive for Covid-19.

65. After learning of his son’s positive Covid-19 test, on or about September 26, 2020, Alford

   contacted Palmer and Engle to inform them that he had been exposed to Covid-19.




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66. After learning of his son’s positive Covid-19 test, on or about September 26, 2020, Alford

   informed Palmer and Engle that he had to care for his ill son and would not be able to come to

   work.

67. After learning of his son’s positive Covid-19 test, on or about September 26, 2020, Alford

   further informed Palmer and Engle that he would have to care for his four other children, given

   he was unable to make emergency childcare arrangements.

68. In response, Palmer demanded that Alford appear for work on or about September 26, 2020.

69. On or about September 29, 2020, Alford again contacted Palmer and Engle, informing them

   that he would not be able to come to work due to his childcare obligations.

70. In response, Palmer again demanded that Alford appear for work on or about September 29,

   2020, and bring his children so someone at Honda could watch them during Alford’s work

   shift.

71. As of September 2020, Honda was a covered employer under the FMLA.

72. As of September 2020, Honda was a covered employer under the FFCRA.

73. As of September 2020, Alford had worked for Honda for at least 12 months.

74. As of September 2020, Alford had at least 1,250 hours of service for Honda during the previous

   12 months.

75. As of September 2020, Alford qualified for FMLA and/or FFCRA leave, as related to his

   childcare obligations.

76. Upon information and belief, Honda allowed similarly situated employees, who did not have

   childcare obligations, to use FMLA and/or FFCRA-protected leave subsequent to the onset of

   the Covid-19 pandemic.

77. Honda was aware of Alford’s childcare issues stemming from the Covid-19 pandemic.



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78. Honda had sufficient information that Alford required time off work due to his childcare issues.

79. Honda never issued Alford a Notice of Eligibility letter.

80. Honda did not advise Alford of his ability to apply for and utilize FMLA and/or FFCRA leave

   after becoming aware of his childcare issues.

81. Honda failed to advise Alford of his rights to utilize FMLA and/or FFCRA leave.

82. In failing to notify Alford of his rights pursuant to the FMLA and/or FFCRA, Honda interfered

   with Alford’s rights under the FMLA and/or FFCRA.

83. Alford was eligible for FMLA and/or FFCRA leave, due to his childcare obligations.

84. On or about October 1, 2020, Alford was informed that he had tested positive for Covid-19.

85. After learning he had tested positive for Covid-19, on or about October 1, 2020, Alford advised

   Palmer.

86. In response, Palmer demanded that Alford complete his work shift on October 1, 2020 before

   he would be able to leave.

87. After October 1, 2020, Alford quarantined until on or about October 12, 2020, when he

   returned to work at Honda.

88. On or about October 31, 2020, Alford learned that his children’s grandfather had passed away

   and that a funeral had been scheduled for November 7, 2020.

89. After learning that his children’s grandfather had passed away, Alford informed Palmer and

   requested November 7, 2020 off from work, to attend the funeral.

90. Palmer approved Alford’s time-off request for November 7, 2020 and Alford attended the

   funeral that same day.

91. On or about November 9, 2020, Palmer held a meeting with Alford in which he advised Alford

   that his employment with Honda was being terminated.



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92. Palmer told Alford the reason for his termination was failing to come to work on November 7,

   2020.

93. Upon information and belief, Honda has a progressive disciplinary policy,

94. Upon information and belief, Honda’s progressive disciplinary policy calls for escalating

   levels of discipline beginning with a verbal warning, followed by a written warning,

   suspension, and ultimately leading up to termination.

95. Alford did not receive a verbal warning.

96. Alford did not receive a written warning.

97. Alford did not receive a final written warning.

98. Alford did not receive a suspension.

99. By terminating Alford as the first form of discipline, Honda violated its own progressive

     disciplinary policy.

100. Honda’s purported reason for Alford’s termination was pretext for race discrimination.

101. Honda’s purported reason for Alford’s termination was retaliation against Alford for

     submitting Alford’s Discrimination Complaint.

102. Honda did not proffer a legitimate, non-discriminatory reason for terminating Alford.

103. As a direct and proximate result of being wrongfully terminated by Honda, Alford has

     suffered emotional distress, anxiety, and depression.

104. The above facts demonstrate that Honda engaged in a pattern and practice of race

     discrimination.

105. The above facts demonstrate that Honda engaged in a pattern and practice of unlawful

     retaliation.

   COUNT I: RACE DISCRIMINATION IN VIOLATION OF 42 U.S.C. § 2000e et seq.



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106. Alford restates each and every foregoing paragraph of this Complaint, above, as if it were

     fully rewritten herein.

107. Alford is a member of a statutorily protected class based on his race under 42 U.S.C. § 2000e

     et seq.

108. Honda treated Alford differently than other similarly situated employees based on his race.

109. Honda discriminated against Alford on the basis of his race throughout his employment with

     the company.

110. Honda terminated Alford’s employment without just cause.

111. Honda terminated Alford’s employment based on his race.

112. Honda’s discrimination against Alford, based on his race, violates 42 U.S.C. § 2000e et seq.

113. As a result of Honda’s discrimination against Alford, in violation of 42 U.S.C. § 2000e et

     seq, Alford has suffered mental anguish and emotional distress, including, but not limited to,

     depression, humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-

     confidence, and emotional pain and suffering.

114. In its discriminatory actions as alleged above, Honda acted with malice or reckless

     indifference to Alford’s rights, thereby entitling Alford to an award of punitive damages.

115. To remedy the violations of Alford’s rights, as secured by 42 U.S.C. § 2000e et seq, Alford

     requests that the Court award him the relief demanded below.

   COUNT II: RETALIATORY DISCRIMINATION IN VIOLATION OF 42 U.S.C. §
                            2000e-3 et seq.

116. Alford restates each and every foregoing paragraph of this Complaint, above, as if it were

     fully rewritten herein.

117. After Alford’s Discrimination Complaint, Honda withheld money and monthly commission

     earned by Alford.


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118. Honda’s actions were retaliatory in nature based on Alford’s opposition to unlawful

     discriminatory conduct.

119. Honda’s retaliatory conduct toward Alford violated 42 U.S.C. § 2000e-3 et seq.

120. As a result of Honda’s retaliation against Alford in violation of 42 U.S.C. § 2000e-3 et seq.,

     Alford has been denied employment opportunities providing substantial compensation and

     benefits, thereby entitling Alford to injunctive, equitable and/or compensatory monetary

     relief.

121. As a result of Honda’s discrimination against Alford in violation of 42 U.S.C. § 2000e-3 et

     seq., Alford has suffered mental anguish and emotional distress, including, but not limited

     to, depression, humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-

     confidence, and emotional pain and suffering.

122. In its discriminatory actions as alleged above, Honda has acted with malice or reckless

     indifference to Alford’s rights, thereby entitling Alford to an award of punitive damages.

123. To remedy the violations of Alford’s rights, as secured by 42 U.S.C. § 2000e-3 et seq., Alford

     requests that the Court award him the relief demanded below.

               COUNT III: UNLAWFUL INTERFERENCE WITH FMLA RIGHTS

124. Alford restates each and every foregoing paragraph of this Complaint, above, as if it were

     fully rewritten herein.

125. Pursuant to 29 U.S.C. § 2601 et seq., covered employers are required to provide employees

     job-protected unpaid leave for qualified medical and family situations.

126. Honda is a covered employer under the FMLA.

127. During his employment with Honda, Alford qualified for FMLA leave.

128. Honda failed to properly advise Alford of his rights under the FMLA.



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129. Honda unlawfully interfered with Alford’s exercise of his rights under the FMLA in violation

     of Section 105 of the FMLA and Section 825.220 of the FMLA regulations.

130. Honda’s act of terminating Alford’s employment when he was eligible for FMLA leave

     violated and interfered with Alford’s FMLA rights.

131. As a direct and proximate result of Honda’s conduct, Alford is entitled to all damages

     provided for under 29 U.S.C. § 2617, including liquidated damages, costs, and reasonable

     attorneys’ fees.

          COUNT IV: UNLAWFUL INTERFERENCE WITH FFCRA RIGHTS

132. Alford restates each and every foregoing paragraph of this Complaint, above, as if it were

     fully rewritten herein.

133. The Department of Labor’s temporary rule to implement the FFCRA can be found at 85

     C.F.R. 19326-01.

134. During his employment with Honda, Alford was eligible for FFCRA leave.

135. Honda unlawfully interfered with Alford’s exercise of his rights under the FFCRA.

136. Honda’s refusal to provide Alford with information pertaining to FFCRA leave violated and

     interfered with his FFCRA rights.

137. As a direct and proximate result of Honda’s conduct, Alford has suffered and will continue

     to suffer damages.

138. As a direct and proximate result of Honda’s conduct, Alford is entitled to all damages

     provided for under the FFCRA.

                                    DEMAND FOR RELIEF

   WHEREFORE, Plaintiff Contrell Alford demands from Honda the following:




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(a) Issue an order requiring Honda to restore Alford to one of the positions to which he was entitled

   by virtue of his application and qualifications, and expunge his personnel file of all negative

   documentation;

(b) An award against Honda of compensatory and monetary damages to compensate Alford for

   compensatory damages, emotional distress, and other consequential damages, in an amount in

   excess of $25,000 per claim to be proven at trial;

(c) An award of punitive damages against Honda in an amount in excess of $25,000;

(d) An award of reasonable attorneys’ fees and non-taxable costs for Alford’s claims as allowable

   under law;

(e) An award of the taxable costs of this action; and

(f) An award of such other relief as this Court may deem necessary and proper.




                                                        Respectfully submitted,


                                                        /s/ Kevin A. Buryanek
                                                        Kevin A. Buryanek (0099300)
                                                        Daniel S. Dubow (0095530)
                                                        SPITZ, THE EMPLOYEE’S FIRM
                                                        25825 Science Park Drive, Suite 200
                                                        Beachwood, OH 44122
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                                                        kevin.buryanek@spitzlawfirm.com
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                                                        Attorneys For Plaintiff Contrell Alford




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                                   JURY DEMAND

Plaintiff Contrell Alford demands a trial by jury by the maximum number of jurors permitted.


                                               /s/ Kevin A. Buryanek
                                               Kevin A. Buryanek (0099300)
                                               Daniel S. Dubow (0095530)
                                               SPITZ, THE EMPLOYEE’S FIRM
